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 8              IN THE UNITED STATES DISTRICT COURT

 9             FOR THE CENTRAL DISTRICT OF CALIFORNIA

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11   LEONARDO DIAZ,                          Case No. CV 20-1309 CAS (MRW)
               Petitioner,
12          v.                               ORDER ACCEPTING FINDINGS
                                             AND RECOMMENDATIONS OF
13
     JEFF LYNCH, Warden,                     UNITED STATES MAGISTRATE
14                                           JUDGE
                     Respondent.
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16         Pursuant to 28 U.S.C. § 636, the Court reviewed the petition, the
17   records on file, and the Report and Recommendation of the United States
18   Magistrate Judge. Further, the Court engaged in a de novo review of
19   those portions of the Report to which Petitioner objected.
20         The Court accepts the findings and recommendation of the
21   Magistrate Judge. Additionally, the request to stay the action (Docket
22   # 25) is denied as moot due to this Court’s lack of jurisdiction over the
23   matter.
24         IT IS ORDERED that Judgment be entered dismissing this action
25   without prejudice.
26   DATE: January 21, 2021               _
                                          HON. CHRISTINA A. SNYDER
27
                                          SENIOR U.S. DISTRICT JUDGE
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